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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


    In re: Effexor XR Antitrust Litigation
                                             Lead case: 3:11-cv-05479-PGS-LHG
    This document relates to:

    All Actions



    MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION TO
       COMPEL ZYDUS PHARMACEUTICALS U.S.A. AND CADILA
         HEALTHCARE LIMITED TO PRODUCE DOCUMENTS
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   I.       INTRODUCTION

            The instant Motion seeks to compel compliance with a non-party subpoena

   issued pursuant to Federal Rule of Civil Procedure 45 to Zydus Pharmaceuticals

   U.S.A. and Cadila Healthcare Limited (together, “Zydus”) in In re Effexor XR

   Antitrust Litigation, No. 11-cv-05479 (D.N.J.) (the “Effexor XR Action”), which is

   pending before this Court.1 The subpoena to Zydus (the “Subpoena”) has been

   outstanding for more than nine months.2

            Zydus, a generic drug manufacturer, filed an abbreviated new drug application

   (“ANDA”) seeking approval to market a generic version of Effexor XR in late 2007,

   but did not begin selling generic Effexor XR until June 1, 2011. Plaintiffs allege

   that Zydus would have been ready, willing, and able to sell its generic version of

   Effexor XR earlier absent Defendants’ conduct challenged in the Effexor XR Action.

   The Subpoena seeks documents relevant to those allegations.

            Despite failing to serve timely written objections (or any objections at all),

   thus waiving all objections to the Subpoena, Zydus has refused to produce the

   following categories of document relevant to the Effexor XR Action: (1) data

   showing its sales of generic Effexor XR; (2) its complete ANDA file for generic


        1
        Zydus is headquartered in Pennington, New Jersey, and so in addition to being
   the subpoena-issuing court, this Court is the proper venue for enforcement of the
   Subpoena pursuant to Fed. R. Civ. P. 45(d)(2)(B)(i).
        2
       The Subpoena is Exhibit A to the accompanying Declaration of A. Luke Smith
   (“Smith Decl.”). All Exhibits referenced herein are attached to the Smith Decl.

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   Effexor XR, including internal correspondence and correspondence with the Food

   and Drug Administration (“FDA”); (3) documents regarding the readiness,

   willingness and ability of Zydus to launch generic Effexor XR, including documents

   sufficient to show Zydus’s manufacturing capacity; (4) Zydus forecasts/projections

   containing the anticipated regulatory approval dates, launch dates, and sales (in

   dollars and units) for Zydus’s generic Effexor XR, including such documents

   generated prior to Zydus agreeing to settle the Wyeth-Zydus Litigation;3 (5)

   documents regarding the negotiation and settlement of the Wyeth-Zydus Litigation;

   and (6) communications with other generic Effexor XR ANDA filers regarding

   Effexor XR or generic Effexor XR.

             Defendants agree that these documents are relevant, as evidenced by the fact

   that Defendants issued subpoenas to Zydus seeking documents and testimony on

   nearly identical topics. See Ex. E, Defendants’ May 28, 2018 subpoenas to Zydus.

   II.       FACTUAL BACKGROUND

             A.    The Challenged Conduct

             Plaintiffs allege that Wyeth engaged in an anticompetitive scheme to

   fraudulently obtain patents purportedly covering Effexor XR, wrongfully list them



         3
         The “Wyeth-Zydus Litigation” refers to the Effexor XR patent infringement
   litigation that Wyeth Pharmaceuticals, Inc., Wyeth-Whitehall, and Wyeth
   Pharmaceuticals Company (collectively, “Wyeth”) filed against Zydus.


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   in the FDA’s “Orange Book,”4 and baselessly assert them against potential generic

   Effexor XR competitors in sham litigations to trigger automatic 30-month stays of

   FDA approval. See In re Lipitor Antitrust Litig. & In re Effexor XR Antitrust Litig.,

   868 F.3d 231, 243 (3d Cir. 2017). Plaintiffs further allege that Wyeth and Teva

   entered into a “pay-for-delay” agreement under the cover of the baseless Effexor XR

   patent lawsuit Wyeth filed against Teva. In that agreement, Wyeth paid Teva to

   delay Teva’s generic Effexor XR launch, and Wyeth agreed not to launch an

   “authorized generic” in competition with Teva for 6 months. Id.

          Plaintiffs allege that, by fraudulently obtaining these patents, wrongfully

   listing them in the Orange Book, filing serial sham litigations, and entering into

   settlement agreements with seventeen potential generic competitors (including

   Zydus) before any decision on the merits of those cases, Wyeth successfully blocked

   generics from coming to market for two years, from June 2008 until July 1, 2010

   (the date that Teva was permitted to launch its generic Effexor under the Wyeth-

   Teva settlement). In re Effexor XR Antitrust Litig., 2014 U.S. Dist. LEXIS 142206,

   at *36-41 (D.N.J. Oct. 6, 2014). Plaintiffs allege that, were it not for this unlawful

   scheme, Teva would have obtained approval for and launched its generic Effexor



      4
       The “Orange Book” is an FDA publication entitled “Approved Drug Products
   with Therapeutic Equivalence Evaluations” that contains, among other things, the
   patents associated with brand name drugs for which generic manufacturers are
   seeking FDA approval to market.

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   XR in June 2008; Wyeth would have simultaneously launched an authorized generic

   version of Effexor XR (itself or through an agreement with a third party); and

   subsequent generic Effexor XR ANDA filers (like Zydus) would have obtained

   approval for and launched their generics earlier than they actually did, resulting in

   substantially lower brand and generic Effexor XR prices.

         Plaintiffs allege injury in the nature of overcharge damages, which are

   generally measured by the quantities of brand and generic Effexor XR the Plaintiffs

   and their respective class members bought, multiplied by the difference between (i)

   the net prices the Plaintiffs and their respective class members paid for brand and

   generic Effexor XR (including from Zydus) and (ii) the net prices Plaintiffs would

   have paid had generic Effexor XR competition not been delayed by Wyeth’s and

   Teva’s anticompetitive conduct.

         B.     Plaintiffs Subpoena Zydus
         Realizing that Zydus possesses certain information that is not available from

   Wyeth or another party, Plaintiffs served the Subpoena on May 18, 2018. See Ex.

   A, Subpoena. It requests, inter alia, (i) transaction-level sales data showing Zydus’s

   sales of generic Effexor XR (Requests 13-18); (ii) Zydus’s Effexor XR ANDA file,

   including the ANDA itself, all amendments and supplements thereto, all

   communications to and from the FDA, and Zydus’s internal communications about

   its Effexor XR ANDA (Requests 6-7); (iii) Zydus’s forecasts and launch plans for



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   its generic version of Effexor XR and related documents (Request 4); (iv) documents

   concerning Zydus’s manufacturing capacity and its preparations to launch its generic

   Effexor XR product (Request 8); (v) draft and final agreements pertaining to generic

   Effexor XR (Request 12) and communications concerning negotiation of the same

   (Request 3); and (vi) Zydus’s communications with other Effexor XR ANDA filers

   (Requests 10 & 11). In addition, with the Subpoena, Zydus was served a copy of

   the Protective Order entered by the Court in this matter.

         Zydus never served any written responses or objections to the Subpoena.

   Smith Decl. ¶ 3. On June 14, 2018, counsel for Plaintiffs called Zydus’s corporate

   offices to inquire about the status of the Subpoena, and Zydus’s counsel called back

   the following day. Smith Decl. ¶¶ 4-5.

         Following this initial call, Plaintiffs emailed Zydus’s counsel on June 22, 2018

   summarizing the categories of requested documents. Ex. C at 15-17. Thereafter,

   Plaintiffs’ counsel made a good faith effort to meet and confer with Zydus’s counsel

   to reach an agreement regarding Zydus’s compliance with the Subpoena, but

   Zydus’s counsel failed to respond to Plaintiffs for long periods of time. Smith Decl.

   ¶ 7; Ex. C at 7-9. Plaintiffs’ counsel eventually reached Zydus’s counsel by phone

   on September 11, 2018, and reiterated Plaintiffs’ request for the documents at issue

   in this motion. Zydus’s counsel stated he would confer again with Zydus and reply

   the following week. Smith Decl. ¶ 8.



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           On or about September 21, 2018, having not heard back from Zydus’s

    counsel, Plaintiffs’ counsel again emailed Zydus’s counsel regarding Zydus’s failure

    to produce the requested documents. Smith Decl. ¶ 9. On or about October 12,

    2018, Zydus produced an incomplete set of marketing, launch planning, and sales

    forecasting documents generated during the period after Zydus had reached a

    settlement in principle of the Wyeth-Zydus Litigation, and failed to produce any

    material from the other categories of documents sought by this motion, namely: (1)

    Zydus’s sales data; (2) Zydus’s ANDA file; (3) documents sufficient to show

    Zydus’s capacity and ability to manufacture generic Effexor XR; (4) Zydus’s pre-

    settlement forecasts and launch plans for its generic version of Effexor XR and

    related documents;5 (5) documents relating to the negotiation and settlement of the

    Wyeth-Zydus Litigation; and (6) documents relating to Zydus’s communications

    with other Effexor XR ANDA filers. Smith Decl. ¶¶ 10-11.

           Zydus has failed to produce these six categories of relevant documents despite

    a lengthy meet and confer and despite Zydus’s failure to object to the Subpoena, thus

    waiving all objections to the Subpoena, and even though it would not be burdensome


       5
         Zydus has not yet claimed that it has produced all responsive forecasts and
    launch planning documents. Based on our review of documents produced by other
    Effexor XR ANDA filers, Plaintiffs expect that Zydus prepared forecasts and launch
    date projections prior to agreeing to settle the Zydus-Wyeth Litigation, and Zydus
    has not denied the existence of such pre-settlement documents. However, Zydus has
    not produced any such forecasting and launch planning documents created before
    Zydus agreed to settle with Wyeth.

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    for Zydus to produce these documents. Zydus should be compelled to produce these

    documents without further delay.

    III.   ZYDUS SHOULD BE COMPELLED                          TO     PRODUCE        THE
           REQUESTED DOCUMENTS

           Zydus has never served any written objections, let alone timely ones, and thus

    has waived all objections to the Subpoena. Regardless, the requested documents are

    relevant to Plaintiffs’ claims in this action, not obtainable from Defendants, and not

    burdensome to produce. Plaintiffs’ motion to compel should therefore be granted.

           A.    Legal Standard
           Rule 26(b)(1) provides that discovery encompasses that which “is relevant to

    any party’s claim or defense and proportional to the needs of the case,” and “need

    not be admissible in evidence to be discoverable.”          Fed. R. Civ. P.26(b)(1).

    Relevancy is broadly construed for discovery purposes and is not limited to the

    precise issues set out in the pleadings or the merits of the case. See Oppenheimer

    Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978) (“The key phrase in this definition—

    ‘relevant to the subject matter involved in the pending action’—has been construed

    broadly to encompass any matter that bears on, or that reasonably could lead to other

    matters that could bear on, any issue that is or may be in the case.”).

           “The party resisting production of discovery bears the burden of establishing

    lack of relevancy or undue burden.” EEOC v. Princeton Healthcare Sys., 2012 U.S.

    Dist. LEXIS 65115, at *54-55 (D.N.J. May 9, 2012). As this court has stated on


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    numerous occasions, the burden of demonstrating “the unreasonableness or

    oppressiveness” of a subpoena is a “heavy” one. See, e.g., Halpin v. Barnegat Bay

    Dredging Co., 2011 U.S. Dist. LEXIS 68828, at *35 (D.N.J. June 27, 2011); Malibu

    Media, LLC v. Does, 2012 U.S. Dist. LEXIS 175919, at *6 (D.N.J. Dec. 12, 2012);

    Dexter v. Cosan Chem. Corp., 2000 U.S. Dist. LEXIS 22134, at *7-8 (D.N.J. Oct.

    24, 2000). To overcome the presumption in favor of discovery, a respondent must

    “demonstrate to the Court that the requested documents either do not come within

    the broad scope of relevance as defined in Fed. R. Civ. P. 26(b)(1) or else that they

    are of such marginal relevance that the potential harm occasioned by discovery

    would outweigh the ordinary presumption in favor of broad disclosure.” EEOC v.

    Princeton Healthcare Sys., 2012 U.S. Dist. LEXIS 65115, at *54 (D.N.J. May 9,

    2012). Moreover, “[t]he objecting party must specifically show how each discovery

    request is objectionable.” Love v. N.J. Dep’t of Corr., 2017 U.S. Dist. LEXIS

    128905, at *7 (D.N.J. Aug. 11, 2017) (citation omitted). “Objections must state with

    specificity the objection and how it relates to the particular request being opposed,

    and not merely that it is ‘overly broad and burdensome’ or ‘oppressive’ or

    ‘vexatious’ or ‘not reasonably calculated to lead to the discovery of admissible

    evidence.’” Id. (citations omitted).

          B.     Zydus Waived All Objections to the Subpoena by Failing to Timely
                 Serve Written Objections.

         Zydus has waived all objections to the Subpoena by failing to serve written


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    objections at all, much less timely written objections. The Subpoena was served on

    May 18, 2018. See Ex. B. Any written objections to non-party subpoenas must be

    served no later than 14 days after the subpoena was served. Fed. R. Civ. P.

    45(d)(2)(B). Zydus failed to timely serve objections within 14 days of being served

    with the subpoena, or thereafter. Smith Decl. ¶ 3.6

           Zydus’s failure to timely serve written objections constitutes waiver of all

    rights to assert those objections. See, e.g., La. Generating, L.L.C. v. Ill. Union Ins.

    Co., 2011 U.S. Dist. LEXIS 143679, at *6 (M.D. La. Dec. 14, 2011) (“failure to

    serve timely objections to a Rule 45 subpoena generally results in a waiver of all

    grounds for objection, including privilege.”); In re Corso, 328 B.R. 375, 384

    (E.D.N.Y. 2005) (“The fourteen day time limitation to serve written objections to a

    subpoena is crucial as failure to do so typically constitutes a waiver of such

    objections”); Packer v. Hansen, 1999 U.S. Dist. LEXIS 17618, at *7 (E.D. Pa. Nov.

    12, 1999) (“this Court must find that [the nonparty subpoena recipient’s] right to

    object was waived because no objections were ever filed.”).

           C.    Zydus’s Generic Effexor XR Sales Data Is Relevant, Not
                 Obtainable from Defendants, and Not Burdensome to Produce

           Even putting aside Zydus’s waiver of any objections to the Subpoena, the

    requested sales data is relevant and not burdensome to produce, and should be


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         Again, Plaintiffs’ counsel’s first communication with Zydus counsel was June
    15, 2018, nearly a month after the subpoena was served. Smith Decl. ¶¶ 4-5.

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    promptly produced.

          Requests 13-15 of the Subpoena seek Zydus’s transactional sales data

    showing its sales of generic Effexor XR and related documentation that is needed to

    understand any fields and codes that are commonly included in such transactional

    sales data. This information is relevant to Plaintiffs’ allegation that Wyeth’s and

    Teva’s anticompetitive conduct harmed Plaintiffs by causing them to pay higher

    prices than they otherwise would have. Plaintiffs must demonstrate antitrust impact

    (injury, in the form of higher prices, caused by the anticompetitive conduct) and

    class-wide damages (the difference between the brand and generic prices actually

    paid by Plaintiffs and the classes and the prices that would have been paid if generic

    Effexor XR had been available earlier).        In order to calculate the net prices

    purchasers paid for generic Effexor XR, Plaintiffs need the prices paid by purchasers

    from Zydus (and other generic Effexor XR sellers). Zydus’s sales data supplies

    inputs used to determine the amount of generic Effexor XR purchased, and the net

    prices actually paid for the generic. These inputs will be used by Plaintiffs and their

    experts to model the quantities that would have been purchased, and the (lower)

    prices Plaintiffs would have paid for brand and generic Effexor XR absent the

    anticompetitive conduct. Damages are the difference between what the Plaintiffs

    actually spent (the volumes purchased multiplied by the net prices paid) and what

    they would have spent absent the anticompetitive conduct (the modeled figures).



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    See, e.g., In re Wellbutrin XL Antitrust Litig., 2011 WL 3563385, at *14-15 (E.D.

    Pa. Aug. 11, 2011) (discussing “before and after” methodology, which “produces an

    aggregate damages estimate that is based on deriving a benchmark for generic prices

    in the ‘but for world’ based on the actual experience for branded and generic prices

    after entry”); Meijer, Inc. v. Warner Chilcott Holdings Co. III, 246 F.R.D. 293, 311-

    12 (D.D.C. 2007) (noting actual generic prices are used for damages calculation in

    delayed generic entry antitrust cases).

          The transactional sales data sought by Requests 13-15 of the Subpoena is

    routinely requested and produced by non-parties—in this case and others—under

    similar circumstances, usually voluntarily but by court order if needed. See, e.g.,

    Direct Purchaser Class v. Apotex Corp., 2017 U.S. Dist. LEXIS 159585, at *3-4

    (S.D. Fla. May 15, 2017) (enforcing non-party subpoena in antitrust case involving

    delayed generic entry that sought “sales data for generic Celebrex and/or authorized

    generic Celebrex in electronic format, at the transaction level” because such data

    would allow plaintiffs’ economic experts to determine price for generic Celebrex

    absent defendant’s anticompetitive conduct); In re Namenda Direct Purchaser

    Antitrust Litig., 2017 U.S. Dist. LEXIS 173403, at *7-10 (S.D.N.Y. Oct. 19, 2017)

    (ordering non-party generic to produce transactional sales data in an antitrust case

    because monthly sales summaries were inadequate).              “[T]he production of

    voluminous transactional data . . . in an antitrust case is routine and happens in every



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    case.” F. Matthew Ralph & Caroline B. Sweeney, E-Discovery and Antitrust

    Litigation, 26 ANTITRUST 58, 61 (2011) (quotation and citation omitted). Antitrust

    cases require substantial data analysis. See Mitsubishi Motors Corp. v. Soler

    Chrysler-Plymouth, Inc., 473 U.S. 614, 632 (1985) (“antitrust issues, prone to

    complication, require sophisticated legal and economic analysis”). Denying relevant

    data discovery can constitute reversible error. See, e.g., Valley Drug Co. v. Geneva

    Pharm., Inc., 350 F.3d 1181, 1192 (11th Cir. 2003) (district court erred by

    prohibiting certain data discovery).

          Indeed, Zydus produced the very same sales data sought by this motion in In

    re Niaspan Antitrust Litig., Case No. 13-md-2460 (E.D. Pa.), where it was also a

    non-party, after the plaintiffs in that case filed a motion to compel. Smith Decl. ¶ 17

    & Ex. D. The same result should obtain here. Plaintiffs are simply requesting that

    Zydus produce the generic Effexor XR sales data it possesses in the form in which

    it is kept in the ordinary course of Zydus’s business. Plaintiffs aren’t requesting that

    Zydus create any sales data that it doesn’t already possess. Indeed, Zydus clearly

    possesses this data since it produced similar data in the Niaspan litigation. In

    addition, Zydus has articulated no burden associated with producing this data, nor

    can Zydus show any burden likely to outweigh the benefit of the requested discovery

    to this case, given that the data is highly relevant to damages and antitrust injury.

    See, e.g., Mallinckrodt LLC v. Actavis Labs., 2017 U.S. Dist. LEXIS 18909, at *10



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    (D.N.J. Feb. 10, 2017) (compelling production where respondent “failed to

    demonstrate that the discovery sought [was] disproportionate to the needs of the case

    or constitute[d] an undue burden”); Biotechnology Value Fund, L.P. v. Celera Corp.,

    2014 U.S. Dist. LEXIS 119878, at *8-9 (D.N.J. Aug. 27, 2014) (same).

          D.     Zydus’s Generic Effexor Regulatory Files Are Relevant, Not
                 Obtainable From Defendants, and Not Burdensome to Produce

          Zydus should also be compelled to promptly produce its generic Effexor XR

    ANDA file—including all ANDA filings and related correspondence, internally and

    with the FDA, as sought in Requests 6 and 7—because these documents are relevant

    and not burdensome to produce, and because Zydus has waived any objection to

    Plaintiffs’ request for Zydus’s ANDA file.

          Zydus’s ANDA file for generic Effexor XR is relevant to Plaintiffs’ allegation

    that absent Wyeth’s and Teva’s anticompetitive conduct, Zydus would have

    launched its generic version of Effexor XR sooner, resulting in purchasers paying

    lower prices earlier than they actually did. Indeed, Zydus’s ANDA file contains

    critical information regarding any regulatory issues Zydus experienced in seeking

    FDA approval of its generic Effexor XR ANDA and the steps and time Zydus took

    to resolve those issues. Zydus’s internal communications regarding the status and

    priority assigned to prosecuting its ANDA are relevant to understanding the efforts

    and amount of time Zydus expended to resolve regulatory issues involving its

    ANDA as well as the motives and incentives affecting Zydus, and the extent to which


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    the challenged settlement agreement between Wyeth and Teva affected those

    motives and incentives. Such information is relevant to establishing the date on

    which Zydus would have launched generic Effexor XR absent the challenged

    conduct. Zydus’s ANDA file is thus relevant to Plaintiffs’ calculation of damages.

          Plaintiffs and Defendants do not possess Zydus’s ANDA file, so these

    relevant documents must be obtained from Zydus. And, once again, Zydus has not

    articulated any burden associated with production of these documents, nor can it,

    given that the ANDA file includes a discrete set of easily-identifiable documents

    within Zydus’s possession. See Mallinckrodt, 2017 U.S. Dist. LEXIS 18909, at *10;

    Biotechnology Value Fund, 2014 U.S. Dist. LEXIS, at *8-9.

          E.    Zydus’s Manufacturing Documents Are Relevant, Not Obtainable
                From Defendants, and Not Burdensome to Produce

          Zydus should also be compelled to promptly produce its generic Effexor XR

    manufacturing documents because they are relevant and not burdensome to produce,

    and because Zydus has waived any objection to Plaintiffs’ requests.

          Documents sufficient to show Zydus’s manufacturing capacity as set forth in

    Request 8 of the Subpoena are relevant to the steps and time it took Zydus complete

    those steps and show when, from a manufacturing perspective, Zydus would have

    been able to launch generic Effexor XR absent the challenged conduct.

          The parties do not possess Zydus’s manufacturing documents, so they must

    be obtained from Zydus. Zydus has not articulated any burden associated with


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    production of these documents, nor can it, given that these manufacturing capacity

    planning documents are a limited set of documents within Zydus’s possession. See

    Mallinckrodt, 2017 U.S. Dist. LEXIS 18909, at *10; Biotechnology Value Fund,

    2014 U.S. Dist. LEXIS, at *8-9.

          F.     Zydus’s Forecasting and Projection Documents are Relevant, Not
                 Obtainable from Defendants, and Not Burdensome to Produce

          Request 4 of the Subpoena seeks “draft and final forecasts/projections

    containing the anticipated regulatory approval dates, launch dates, sales (in dollars

    and units), including assumptions used, for Generic Effexor XR, and/or any

    Authorized Generic Effexor ER.” Ex. A (Subpoena), at 16. Zydus should also be

    compelled to promptly produce its generic Effexor XR forecasting and projection

    documents, including all such documents created before Zydus and Wyeth settled

    the Wyeth-Zydus Litigation, because they are relevant and not burdensome to

    produce, and because Zydus has waived any objection to Plaintiffs’ requests for

    these documents.

          Zydus’s forecasts and launch plans for its generic version of Effexor XR and

    related documents are relevant to Plaintiffs’ claims, as they reflect a knowledgeable

    market participant’s contemporaneous expectations of the timing and impact of

    generic entry on (a) brand and generic market share, and (b) market prices. In

    addition, Zydus’s pre-settlement forecasts and launch plans are probative of when

    Zydus believed generic competition would have begun absent the challenged delay


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    in generic competition, and what the effect of that earlier competition would have

    been on brand and generic Effexor XR units and prices. Plaintiffs’ experts are

    permitted to and often do use the forecasts of knowledgeable market participants like

    Zydus to determine what the price of a generic drug would have been as a function

    of the number of generic firms expected to enter the market, and what generic market

    share would have been based on the timing of forecasted generic entry. See, e.g., In

    re Solodyn (Minocycline Hydrochloride) Antitrust Litig., 2017 WL 4621777, at *7-

    9 (D. Mass. Oct. 16, 2017) (certifying a class of direct purchasers where the

    plaintiffs’ expert (a) relied on nonparty and party generic company forecasts as

    common evidence of classwide impact, and (b) used these generic company

    forecasts to calculate what the generic market share would have been, and damages);

    In re Lidoderm Antitrust Litig., 2017 WL 679367, at *9-10 (N.D. Cal. Feb. 21, 2017)

    (certifying the direct purchaser class in a similar case challenging a “no-authorized

    generic” promise where the plaintiffs’ expert relied on generic company forecasts as

    one form of evidence of classwide impact); Wellbutrin XL, 2011 WL 3563385, at

    *12 (class certification granted where plaintiffs’ evidence of classwide injury

    included nonparty generic company forecasts); In re Neurontin Antitrust Litig., 2011

    WL 286118, at *7-8 (D.N.J. Jan. 25, 2011) (same); Teva Pharms. USA, Inc. v. Abbott

    Labs., 252 F.R.D. 213, 229 (D. Del. 2008) (same). Manufacturers’ sales forecasts

    (like those requested from Zydus) also typically reflect the expectation that all



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    generic sales would be taken from the corresponding brand (here, branded Effexor

    XR), not from other, non-bioequivalent products, which is probative of the

    composition of the relevant antitrust market.

           Zydus has failed to produce the requested documents. Although Zydus has

    produced some forecasting documents, all of the forecasting documents Zydus has

    produced were created after Zydus reached an agreement in principle to settle with

    Wyeth, and thus do not reflect Zydus’s pre-settlement expectations of the timing and

    impact of generic entry on brand market share and market prices. Zydus should be

    compelled to produce the remainder of its forecasting and launch plan documents,

    including all such documents that were created by Zydus before Zydus reached an

    agreement in principle to settle the Wyeth-Zydus Litigation.7

           Defendants do not possess Zydus’s forecasts or launch plans, so these relevant

    documents must be obtained from Zydus. And again, Zydus has not articulated any

    burden objection, nor can it. See J&C Nationwide, U.S. Dist. LEXIS 50275, at *7;

    In re Seroquel Prods. Liab. Litig., 244 F.R.D. 650, 654 (M.D. Fla. 2007). Zydus

    should thus be compelled to produce these documents; their relevance far outweighs

    any burden to Zydus, and Zydus has waived any burden or relevance objection

    anyway by failing to object to the Subpoena.


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          Again, Zydus has not denied possessing such responsive, relevant forecasting
    documents that were created before Zydus reached an agreement with Wyeth to
    settle the Wyeth-Zydus Litigation.

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          G.     Zydus’s Documents Relating to the Negotiation and Settlement of
                 the Wyeth-Zydus Litigation Are Relevant, Not Obtainable From
                 Defendants, and Not Burdensome to Produce

          Zydus should also be compelled to promptly produce documents relating to

    the negotiation and settlement of the Wyeth-Zydus Litigation, including all draft and

    final agreements pertaining to generic Effexor XR and communications concerning

    negotiation of the same, as well as correspondence with other generic manufacturers

    regarding the same. These documents—sought by Requests 3 and 12—are relevant

    and not burdensome to produce, and Zydus has waived any objection to Plaintiffs’

    requests for these documents.

          Zydus’s documents relating to the negotiation and settlement of the Wyeth-

    Zydus Litigation are relevant evidence of when, absent the Defendants’ challenged

    conduct, Zydus would have started selling generic Effexor XR, including e.g., by

    way of reaching a different agreement with Wyeth providing for an earlier agreed-

    upon entry date for Zydus’s generic Effexor XR product, a patent litigation victory,

    or a so-called at-risk launch. The date on which Zydus would have launched its

    generic absent the Defendants’ unlawful conduct is relevant to, e.g., economic

    modeling of the competitive market conditions that would have occurred absent

    Defendants’ challenged conduct.

          Zydus should thus be compelled to produce these documents because their

    relevance far outweighs any burden to Zydus, and because Zydus waived any



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    relevance or burden arguments anyway by failing to object to the Subpoena.

          H.     Zydus’s Documents Regarding Its Communications With Other
                 Effexor XR ANDA Filers Are Relevant, Not Obtainable From
                 Defendants, and Not Burdensome to Produce

          Documents relating to Zydus’s communications with other Effexor XR

    ANDA filers are sought by Subpoena Requests 10 and 11, and are relevant evidence

    of Zydus’s decision to agree to an entry date that was the same as ten other Effexor

    XR ANDA filers and could explain why Wyeth was concerned with the at-risk

    launch of other Effexor ANDA filers, which would trigger Teva entering earlier than

    its agreed upon date with Wyeth. These documents are relevant to the question of

    when Zydus would have launched its generic absent the Defendants’ challenged

    conduct, which is relevant to e.g., economic modeling of the competitive market

    conditions that would have occurred absent Defendants’ challenged conduct, and

    damages.

          Zydus should thus be compelled to produce these documents, which cannot

    be obtained from any party to the case, because their relevance far outweighs any

    burden to Zydus, and because Zydus waived any relevance or burden arguments by

    failing to object to the Subpoena.

    IV.   CONCLUSION

          For the foregoing reasons, this Court should compel Zydus to promptly

    produce: (1) Zydus’s data showing its sales of generic Effexor XR as set forth in



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    Requests 13-15; (2) Zydus’s ANDA file, including the ANDA itself and all related

    correspondence internally and with the FDA as set forth in Requests 6-7; (3)

    documents sufficient to show Zydus’s generic Effexor XR manufacturing capacity

    as set forth in Request 8; (4) Zydus’s forecasting and projection documents as set

    forth in Request 4; (5) documents relating to the settlement negotiation and eventual

    settlement of the Wyeth-Zydus Litigation as set forth in Requests 3, 11, and 12; and

    (6) communications with other Effexor XR ANDA filers regarding Effexor XR or

    generic Effexor XR as set forth in Requests 10 and 11.


     Dated: March 27, 2019                        Respectfully submitted,

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